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                                                                   EXHIBIT A
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From: Boatman, Amy (KPMG) [mailto:Amy.Boatman@bp.com]
Sent: Thursday, August 02, 2012 2:01 PM
To: Bob Levine
Cc: Travis, Maria T
Subject: RE: Administrative Fund - Budget and Request for Funding

Bob,

Yes, this formal request meets the requirements of the settlement. We will begin working on our end for the fund
transfer. Thanks!

Amy Boatman
Email: amy.boatman@bp.com
Cell: 832.338.4539


From: Bob Levine [mailto:blevine@dheclaims.com]
Sent: Wednesday, August 01, 2012 4:47 PM
To: Boatman, Amy (KPMG); Travis, Maria T
Subject: Administrative Fund - Budget and Request for Funding

Amy,

Let me know if this meets your requirements.




935 Gravier Street, Suite 1905
New Orleans, Louisiana 70112
blevine@dheclaims.com
Direct – 504 934-4919
Cell - 504 813-8597


                                                                                                       EXHIBIT A-1
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                                                                            CliftonLarsonAllen LLP
                                                                            9339 Priority Way West Drive, Suite 200
                                                                            Indianapolis, IN 46240
                                                                            317-574-9100 | fax 317-574-9707
                                                                            www.cliftonlarsonallen.com




Mr. Bob Levine
Chief Financial Officer
Deepwater Horizon Economic Claims Center
935 Gravier Street, Suite 1905
New Orleans, LA 70112

Dear Mr. Levine,

                                                     Process Audit

We have conducted the first (Project I) of three 2013 scheduled Independent Evaluations of the Internal
Control Environment over claims processing (Process Audit) of Deepwater Horizon Economic Claims
Center (DHECC), as requested by the Claims Administrator’s Office (CAO). This Process Audit Report
(Report) covers the claims processing internal control environment from June 4, 2012 to March 31,
2013, and includes claims paid through December 31, 2012.

For the purposes of the Report:
    • The CAO refers to the Claims Administrator (CA), Patrick Juneau, and his executive staff that
        comprise the CA’s office
    • DHECC refers to the CAO and the vendors tasked with claims processing implementation
    • The vendors include BrownGreer (BG), Garden City Group (GCG), Postlethwaite & Netterville
        (P&N), PricewaterhouseCoopers (PwC), and HUB Enterprises (HUB)
    • CA QA/QC refers to the Claims Administrator’s Quality Control Department, which is an
        independent function within the CAO that provides quality control reviews
    • BP refers to British Petroleum
    • The Court refers to the United States District Court of the Eastern District of Louisiana
    • The PSC refers to the Plaintiff’s Steering Committee, who represents the individuals and
        businesses who suffered damages (i.e. the claimants)
    • CLA refers to CliftonLarsonAllen LLP

The Report sets out the results of Project I fieldwork. CLA performed onsite and remote fieldwork
procedures, including interviews, walkthroughs, documentation review, and testing of processed claims.
CLA also evaluated whether claims were determined eligible and valued according to the Deepwater
Horizon Economic and Property Damages Settlement Agreement (Settlement Agreement). These
procedures, agreed to by the CAO, were applied solely to assist DHECC in evaluating its internal control
environment over claims processing. The procedures performed and related observations and
recommendations are described in the Report attached. CLA’s work was performed from November 26,
2012 through April 26, 2013.

The subsequent scheduled fieldwork dates (Projects II and III) will reflect the internal control
environment over claims processing from April 1, 2013 through September 30, 2013 for Project II and


                                                                                                         EXHIBIT A-5
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October 1, 2013 through December 31, 2013 for Project III and will cover claims paid for the period
through May 31, 2013 and October 30, 2013, respectively.

CLA fully appreciates the complexity of claims operations DHECC faced. From the outset of the Process
Audit, the CA stated clearly that DHECC’s top priority was to compensate claimants that had been
adversely affected by the Deepwater Horizon oil spill in a manner that was timely, accurate, and in
accordance with the Settlement Agreement. Methodologies, processes, and controls evolved during the
time period through March 31, 2013. DHECC made many adjustments and improvements as it gained a
clearer understanding of the emerging challenges associated with its operations. The CA communicated
to CLA that DHECC strives to consistently apply its policies, procedures, and methodologies in
accordance with the Settlement Agreement and undoubtedly during this process exceptions would
occur due to the volume of claims processed in a short period of time. Additionally the CA
communicated that DHECC was committed to continue to enhance the internal control environment
and to correct identified errors.

CLA has no responsibility to update or alter the Report for changes in the internal control environment
subsequent to April 26, 2013. If subsequent events are brought to our attention we will evaluate those
events during Project II and III.

Throughout Project I, CLA had full and timely access to the CAO and DHECC vendor personnel for on-site
meetings, conference calls, additional requests, and clarification and questions identified in a timely and
transparent manner. All personnel were collaborative and responsive throughout Project I.

CLA would like to thank the CAO and its vendors for their assistance, the education given on the
complexities involved for our team, and efforts made during Project I. From the initial kick-off meeting
the CA pledged DHECC’s full cooperation and commitment and that is exactly what CLA received.


A
Indianapolis, Indiana
May 17, 2013
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                        Deepwater Horizon Economic Claims Center

                               Independent Evaluation of the Internal
                                       Control Environment

                                                        (Process Audit)

                                                         May 17, 2013




                                                   Prepared By: CliftonLarsonAllen LLP




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Mr. Bob Levine
Chief Financial Officer
Deepwater Horizon Economic Claims Center
935 Gravier Street, Suite 1905
New Orleans, LA 70112

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    • BP refers to British Petroleum
    • The Court refers to the United States District Court of the Eastern District of Louisiana
    • The PSC refers to the Plaintiff’s Steering Committee, who represents the individuals and
        businesses who suffered damages (i.e. the claimants)
    • CLA refers to CliftonLarsonAllen LLP

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procedures, including interviews, walkthroughs, documentation review, and testing of processed claims.
CLA also evaluated whether claims were determined eligible and valued according to the Deepwater
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procedures, agreed to by the CAO, were applied solely to assist DHECC in evaluating its internal control
environment over claims processing. The procedures performed and related observations and
recommendations are described in the Report. CLA’s work was performed from November 26, 2012
through April 26, 2013.

The subsequent scheduled fieldwork dates (Projects II and III) will reflect the internal control
environment over claims processing from April 1, 2013 through September 30, 2013 for Project II and
October 1, 2013 through December 31, 2013 for Project III and will cover claims paid for the period
through May 31, 2013 and October 30, 2013, respectively.
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We performed this engagement, and formed our opinion for Project I, in accordance with the
International Standards for the Professional Practice of Internal Auditing Standards (Standards). In
addition, our procedures do not constitute an audit performed in accordance with auditing standards
generally accepted in the United States of America; or an examination, review or agreed upon
procedures performed under the attestation standards of the American Institute of Certified Public
Accountants. As such, we do not express an opinion on any of the specified elements, accounts or items
included in DHECC’s financial statements or on the financial statements taken as a whole. If we had
performed additional procedures, or if we had conducted an examination or review of the specified
elements, accounts or items of the financial statements, or agreed upon procedures in accordance with
professional standards, matters in addition to our observations may have come to our attention and
been reported to you.

The sufficiency of the procedures and operations of internal controls is solely the responsibility of the CA
and DHECC. Consequently, we make no representations regarding the adequacy of the procedures
described in the attached document either for the purpose for which the Report has been requested or
for any other purpose.

This report is intended solely for the use of the Claims Administrator and DHECC and is not intended to
be used by anyone other than the specified parties.

CLA has no responsibility to update or alter the Report for changes in the internal control environment
subsequent to April 26, 2013. If subsequent events are brought to our attention we will evaluate those
events during Project II and III. In addition, CLA did not validate management’s responses we will test
changes and updates during Project II and Project III.


A
Indianapolis, Indiana
May 17, 2013
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InSummary of Results


1.0 Summary of Results
As of March 31, 2013, CLA identified the following key strengths and opportunities for improvement. It
was communicated to CLA that DHECC had begun implementing changes during fieldwork to address
the opportunities for improvement identified, and changes were implemented as early as March 6,
2013.

 1.1 Key Strengths

   Claims Paid In Accordance With the Settlement Agreement

   DHECC disburses payments that are calculated in accordance with the Settlement Agreement. CLA’s
   review of paid claims revealed exceptions of less than 2%. Based on the claims CLA reviewed, paid
   claims as a whole appear to be paid in accordance with the Settlement Agreement and the CAO is
   committed to correcting any errors identified.

   Open Communication between DHECC, the Court, the PSC, and BP

   The CAO manages all lines of communication between their vendors, the Court, PSC, BP, and
   themselves through weekly status meetings, ad hoc meetings to address emerging trends and
   issues, and weekly reports.

   Claims Processing with Transparency

   DHECC processes claims under the premise of complete transparency. This is accomplished by
   showing each claimant, PSC, and BP how each claim outcome is reached, and if a payment is
   calculated, how the calculation was performed in accordance with the Settlement Agreement.

   Claims Processing with Due Process

   DHECC implements the provisions of the Settlement Agreement providing each claimant the right to
   elect one of the following outcomes once the claimant receives a notice stating they are eligible for
   payment:
       • Accept calculated offer
       • Request a re-review of their claim if they are not satisfied with the initial outcome at no
           additional cost to claimant
       • Request for a reconsideration it they are not satisfied with the re-review outcome at no
           additional cost to claimant
       • Appeal the decision of the reconsideration at no additional cost to claimant

   Consistent Application of the Settlement Agreement

   DHECC applies the Settlement Agreement consistently based on the results of claims testing across
   the different claim categories. All claims categories revealed exceptions of less than 2% which
   indicates that DHECC correctly applied the Settlement Agreement.




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InSummary of Results


  Number of Appeals

  As of December 31, 2012, DHECC processed 68,954 claims and paid 15,894 claims, totaling
  $1,063,262,525. The difference between claims processed and claims paid is the result of claims
  processed being appealed, denied, or the need of additional information from the claimant to fully
  process the claim. See 6.9 Individual Claims Testing for breakdown of claims processed, paid,
  appealed, and denied. As of March 25, 2013, the total number of claims appealed by either BP or a
  claimant was 1,260, or 1.83% of total claims processed. Of the appeals, BP appealed 897 (71% of
  total appeals) and claimants appealed 363 (29% of total appeals) and the results of 67% of total
  appealed claims are still awaiting a decision.

  Ease of a Claimant Filing a Claim and Having Their Questions Answered

  DHECC has made available three ways to file a claim. Claims can be filed on-line, at one of 18 DHECC
  established Claimant Assistance Centers (CAC), or through U.S. Postal Service mail. Additionally,
  DHECC has created a call center for claimants to call to get answers to claims filing questions.

  Quality Control

  The CAO has a quality control function, responsible for quality control over claims processed, paid,
  and appealed. This allows the CAO to identify issues and exceptions real time and implement
  changes to positively impact future claims. CA QA/QC uses formal disciplines in accordance with the
  International Standards for the Professional Practice of Internal Auditing Standards to conduct their
  reviews. These protocols ensure a consistent application and allow for timely and accurate reporting
  of results. The work is retained and evidenced in workbooks to allow for review. In addition, the
  qualifications and experience of the CA QA/QC resources support a qualitative review. Having an in
  house quality control function given the complexities in the internal control environment is viewed
  as a leading practice.

  Claims Processing Volume

  As of December 31, 2012, DHECC processed an average of 11,492 claims notices per month. As of
  March 31, 2013 DHECC’s monthly average had risen by 89% to an average of 21,657 claims notices
  processed per month, demonstrating increasing efficiency in the processing of claims.

  Offsite Data Center Assessment

  The CAO outsources its data center operations to GCG. The CAO and GCG regularly test and assess
  the physical controls of the data center to determine any control weaknesses.

  Document Retention

  The CAO and GCG maintain paper documents in a secured storage area within the Mail Center,
  located in Hammond, LA. In addition, GCG maintains electronic documentation at the Data Center,
  located in Dublin, OH (Data Center). Both paper and electronic documentation are maintained in a
  secure area and can be located or recalled as needed.




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InSummary of Results


1.2 Key Opportunities for Improvement

  Change Management Audit Trail

  BG performs approximately 300 – 400 IT system changes daily such as updating claim or claimant
  specific information and claims processing portal system edits. While documentation is maintained
  to support the changes, a log of the changes is not maintained. As such, it is difficult for the CAO to
  monitor the nature and frequency of IT changes each day. Maintaining a daily log will also assist
  management is determining if changes made were authorized, reasonable and tested before
  implementation.

  Excessive Remote User Access

  BG utilizes an IP address validation control to ensure access to the claims processing portal is
  restricted to users located at one of the DHECC approved locations. Remote access to the portal has
  been granted to 829 (28%) individuals out of approximately 3,000 individuals involved in the claims
  administration process. Such access is usually limited to a smaller percentage, 2-3% (i.e. 50 to 100
  users). Additionally, criteria for allowing remote access has not been sufficiently reviewed and
  documented.

  Periodic User Access Review

  DHECC’s vendors have a number of individuals (443 out of approximately 3,000) who have multiple
  user accounts with different permission rights and capabilities. Users with multiple user accounts
  are not a control deficiency as long as monitoring over segregation of duties risks is performed.
  While management performs a 30 day review of static user accounts, user access is not periodically
  reviewed to determine if access level is appropriate and in alignment with job responsibilities.

  Execute Vendor Contracts for All Vendors

  The CAO is required to work with the four DHECC vendors in the Settlement Agreement. Contracts
  have been executed and signed with two of the four vendors, P&N and GCG. While the remaining
  vendors, BG and PwC, have not completed contracts, they were named in the Settlement
  Agreement and are required to perform claims processing responsibilities for the CAO as part of
  DHECC. In the absence of signed contracts, it is difficult for the CA to establish service level
  agreements and performance metrics for the vendors.

  Approval of Policies and Procedures

  DHECC appears to be operating in accordance with its policies and procedures. However, five of the
  seven policies reviewed during Project I were draft and had yet to be finalized and approved by
  DHECC management.


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InSummary of Results



  Enhance CA QA/QC’s Coverage Over Claims Processing

  CA QA/QC currently adheres to a sampling methodology that is in accordance with the Standards by
  using a 95% confidence interval with a 10% margin of error. Enhancements to the sampling
  methodology through the use of data mining and trend analysis may increase the coverage of
  quality control reviews over DHECC’s claims processing to identify anomalies and emerging trends.

1.3 Key Findings

  The key finding noted during Project I is listed below. All other observations and recommendations
  relate to observations that are not considered high risk. Upon communication and validation of our
  observations and recommendation, DHECC commenced to implement and to address the control
  enhancements identified.

  BG performs 300 – 400 changes on average per day to either claims in process or the claims
  processing portal. While documentation is maintained to support the changes, a daily log of the
  changes is not maintained to give the CAO insight into the changes made each day. Maintaining a
  daily log would also assist management in determining if changes made were properly authorized
  and vetted before implementation.



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InSummary of Results


2.0 Internal Audit Opinion
CLA conducted Project I of the Process Audit in accordance with International Standards for the
Professional Practice of Internal Auditing Standards. The Standards require that we plan and perform
the Process Audit to demonstrate a reasonable basis for our judgments and conclusions regarding
DHECC’s Internal Control Environment over claims processing.

Based on the work performed and the rating criteria established by DHECC, the internal control
environment at DHECC merits a rating of “Minor Improvement Needed.” This rating indicates that,
overall internal controls are in place and are operating as intended to provide reasonable assurance that
management’s objectives are met.

Rating Criteria Definition:

    •   A "Satisfactory" rating indicates the evaluated in-scope processes are performing as designed to
        adequately, appropriately, and effectively mitigate risks in order for management objectives to
        be met.

    •   A "Minor Improvements Needed" rating indicates the evaluated in-scope processes are
        performing to mitigate the assessed risks, but minor deviations from the intended design were
        identified and should be corrected. The overall control framework in place is adequate and
        provides reasonable assurance that management objectives are met.

    •   An “Improvements Required” rating indicates the significant deviations from the control design
        were identified that open the applicable policies and procedures to an unacceptable level of
        risk. The process controls are unlikely to provide reasonable assurance that management
        objectives are met.

    •   An “Unsatisfactory” rating indicates the evaluated in-scope processes were not implemented as
        designed and/or are not mitigating the assessed risks. The controls in place are not adequate,
        appropriate, or effective to provide reasonable assurance that management objectives are met.



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InBackground


3.0 Background
 3.1 DHECC Background

In August 2010, lawsuits against BP and other defendants relating to the damages resulting from the
spill by the oil rig Deepwater Horizon in the Gulf of Mexico on April 20, 2010, were consolidated before
the Court. The Court serves as litigator of damages resulting from this oil spill. In advance of the trial,
the parties to the litigation, namely, the PSC, and BP began settlement negotiations.

By Order dated May 2, 2012 the Court preliminarily approved the Settlement Agreement entered into
by PSC and BP, dated April 18, 2012, as amended on May 1, 2012, for the purpose of settling all related
claims against BP.

The Interim Class Counsel, the CA and J.P. Morgan Trust Company (the Directed Trustee), entered into
the Deepwater Horizon Economic and Property Damages Trust Agreement (Trust Agreement) creating
the Settlement Trust. The Settlement Trust's purpose is to establish a mechanism to disburse payments
to claimants as defined in the Settlement Agreement.

A Claims Administrator was appointed by the Court to oversee the operations of the Deepwater Horizon
Economic Claims Center (DHECC) as outlined in the Settlement Agreement. The Claims Administrator
was also appointed as the Trustee of the Settlement Trust, which will disburse all administrative and
claims funding for the Settlement Agreement.

The CA and DHECC’s responsibilities, as set out in the Settlement Agreement include:
    • Administering the Deepwater Horizon Economic Settlement in accordance with the Settlement
       Agreement and the Settlement Trust
    • Resolving open issues with PSC and BP
    • Reporting back to the Court on the Operations of DHECC
    • Providing full transparency of DHECC’s claims processing in accordance with the Settlement
       Agreement
    • Overseeing execution of claims data inputting, processing, disbursing payments, and retaining
       data

 3.2 Named Vendors of Settlement Agreement

The Settlement Agreement named four vendors who would have responsibility for the key processes of
inputting claims data, processing claims data, disbursing payments, and retaining claims data. They are:
BG, GCG, P&N, and PwC. Each vendor is under the oversight of the CAO as the vendors conduct the day
to day aspects of managing DHECC’s claims processing operations including inputting, processing,
disbursing payments, and retaining data. Additionally, the CAO contracted with HUB to provide security
at the CACs and aid in the investigation of claims or claimants suspected of committing fraud, waste,
and abuse. The four named vendors and their Settlement Agreement responsibilities are tabled on the
following page:


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InBackground


 BrownGreer
     • Team Leader: Orran Brown
     • Team Size: 1,251 as of December 31, 2012
     • Responsibilities: Processing Claims Data
         • Specifically, constructing, maintaining, and supporting the claims processing portal;
            processing all claim categories with the exception of the business economic loss;
            monitoring claims processed and reporting to DHECC; staffing and maintaining 18 CACs
 Garden City Group
     • Team Leader: Neil Zola
     • Team Size: 1,503 as of December 31, 2012
     • Responsibilities: Inputting Claims Data, Disbursing Payments, and Retaining Claims Data
         • Specifically, physical mail intake, including physical claim forms and supporting
            documentation; identifying supporting documentation, linking supporting documentation
            to the correct claimant, categorizing the supporting documentation, and capturing data
            electronically for the physical claims forms and supporting documentation; managing the
            stand alone call center; processing payment disbursements for the DHECC claims process;
            managing and maintaining the data center supporting DHECC; managing and maintaining
            all physical claim forms and supporting documentation received
 Postlethwaite & Netterville
     • Team Leader: Mark Staley
     • Team Size: 201 as of December 31, 2012
     • Responsibilities: Processing Claims Data
         • Specifically, initial level claims processing of business economic loss claims; secondary
            reviewing and approving of seafood compensations claims over $250,000 prepared by BG
 PricewaterhouseCoopers
     • Team Leader: Charles Hacker Jr.
     • Team Size: 170 as of December 31, 2012
     • Responsibilities: Processing Claims Data
         • Specifically, initial level claims processing of business economic loss claims; secondary
            reviewing and approving of business economic loss claims initially prepared by P&N

 3.3 Engagement Background

CLA was selected to perform an Independent Evaluation of the Internal Control Environment in place for
DHECC’s claims processing for the periods of March 31, 2013, September 30, 2013, and December 31,
2013. Additionally, the scheduled fieldwork will cover claims paid as of December 31, 2012, May 31,
2013, and December 31, 2013. Throughout the course of our three projects, CLA will render an opinion
over the internal control environment over claims processing using the International Standards for the
Professional Practice of Internal Auditing. CLA will:
   • Perform an onsite and remote comprehensive and objective review of the internal control
      environment over claims processing to evaluate if claims were properly valued according to
      the Settlement Agreement
            o Conduct an onsite and remote operational review of claims processing and review
                the payment system to verify compliance with the Settlement Agreement
            o Evaluate if the claims infrastructure achieves structured goals of DHECC



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           o   Conduct claims testing to evaluate whether claimant eligibility is assessed in
               accordance with the Settlement Agreement
           o   Conduct claims testing to evaluate whether claims are valued for all claims
               categories in accordance with the Settlement Agreement

   • Perform a review of the internal control environment over claims processing in accordance
     with the Standards and evaluate the controls utilized by the DHECC to manage and control
     claims processing

   • Perform a review of the internal control environment over claims processing with regard
     inputting data, processing data, disbursing payments, and retaining data in accordance with
     the Settlement Agreement

   • Perform a review of the system’s capacity and an evaluation of the Program’s infrastructure
     for forecasted needs

Upon completion of the three scheduled projects CLA will have completed the services included in
the Engagement Letter dated September 11, 2012 and amended March 5, 2013.

 3.3.1 Project 1 Background

We have conducted the first of three 2013 scheduled projects. Project 1 covers the claims operation
environment from June 4, 2012 to March 31, 2013, and includes claims paid as of December 31, 2012 as
the population for testing adherence to management’s expectations.

We anticipated changes would be made to DHECC’s claims processes to improve the processing of
claims on a go forward basis. The CAO and its vendors identified opportunities for improvement and
implemented those opportunities throughout Project I of our Process Audit. Over 60 system
enhancements were implemented from quality assurance reviews of the claims process, including but
not limited to metrics for progress reporting, additional system prompts to confirm with vendor
employees processing the claims are entering the correct information, and standardization of data
capture analysis for the different claim categories.

As potential exceptions were identified by CLA, the following protocols were established and followed:
    • Vetted the exceptions with DHECC to obtain confirmation
    • Worked with DHECC to determine root causes
    • Assisted DHECC to determine if exceptions had implications for the remaining claims paid
       population



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4.0 Project Objectives and Scope
 4.1 Project Objectives

The objectives of Project I were to evaluate the internal control environment over claims processing and
processed claims. The key objectives are summarized below:
   • Gain an understanding of the internal control environment over claims processing utilized by
      the CAO and its vendors to manage or oversee the claims process
   • Perform review of claims processed and evaluate key internal controls over claims processed
      including inputting data, processing data, disbursing payments to evaluate if claims were
      valued and paid in accordance with the Settlement Agreement
   • Conduct claims testing to evaluate whether claimant eligibility is assessed in accordance with
      the Settlement Agreement
   • Evaluate policy and procedures to determine if they are sufficient, adequate, and current

 4.2 Project Scope

Fieldwork for Project I was conducted from November 26, 2012 through April 26, 2013. The period
under review for Project I was the internal control environment over claims processing from June 4,
2012 through March 31, 2013 and claims paid through December 31, 2012. We evaluated the key
processes covering the internal control environment over claims processing:
    • Input
    • Process
    • Disbursement payments
    • Data Retention

Further, Project I covered the following types of claims paid as of December 31, 2012.
    • Paid Claims
            o 10 of the 12 claim categories named in the Settlement Agreement were included in our
                 testing population during Project I; however, not all 10 claim categories included in the
                 population were selected through CLA’s sampling methodology
            o CLA did not include the two additional claim categories noted below due to the fact that
                 they were not in production as of December 31, 2012
                     • Individual Periodic Vendor or Festival Vendor Economic Loss
                     • Subsistence Damage Claim
            o CLA used our sampling methodology of a confidence level of 95% with a 10% margin of
                 error to identify our sample size of 96 claims
            o CLA tested 96 paid claims across the claim categories
            o CLA did not test claims that had a status of “in-process” as of December 31, 2012

    •   Appealed claims
           o CLA performed trend analysis on appealed claims as of March 25, 2013
    •   Denied claims
           o CLA performed trend analysis on denied claims as of December 31, 2012




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Information technology (IT) systems used in processing claims, including:
    • IT system Change management
    • Logical access
    • Physical security

Onsite visits to 8 DHECC and vendor locations.

CLA did not interview or meet with any claimants, their counsel, or their accountants to address specific
claims. Nor did we assess or evaluate any operations pertaining to the Medical Benefits Class Action
Settlement (Medical Settlement Trust) reached related to the Deepwater Horizon oil spill. The Medical
Settlement Trust offers benefits to qualifying people who resided in the United States as of April 16,
2012.

5.0 Project Work Performed
The work performed is summarized below:

Planning and High Level Risk Assessment
    • CLA performed an initial kick-off meeting on November 13, 2012 to confirm the scope and
       objectives of Project I
    • CLA performed a high level risk assessment of the internal control environment over claims
       processing to determine which cycles to evaluate first
    • CLA developed a workplan, which was amended to increase the claims sampling and internal
       control environment testing

Interviews
    • Interviews on an as needed basis throughout Project I with 25 individuals, from the CAO, DHECC
        vendors in the Settlement Agreement, and HUB Enterprises. See Appendix A for listing of
        individuals interviewed

Review of Documentation
   • CLA reviewed the following 7 available DHECC policies and procedures to gain an understanding
       of the internal control environment over the key controls governing claims processing:
           o Travel and entertainment
           o Internal audit
           o Internal audit of invoice review
           o Internal audit of process review
           o Internal audit of claims review
           o Documentation retention policy
           o Disaster recovery and continuity of operations

    •   CLA reviewed documentation provided by DHECC and its vendors, including but not limited to:
           o Organizational charts
           o Employee listings for user access
           o Training materials and manuals
           o Bank statements


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           o   Claims monitoring reports
           o   Claims appealed reports
           o   Claim forms
           o   Eligibility notices
           o   Claims processed documentation

Walkthroughs
   • CLA conducted walkthroughs of the four key processes: inputting, processing, disbursing
       payments, and retention of data. During our walkthroughs we observed the process used to
       identify the key controls and any deviations from management objectives. We identified
       approximately 110 key controls governing the claims process, the responsible party for
       implementing the controls, and the CAO’s role in oversight of the key controls.

Evaluation of Internal Control Environment and Testing of Operational Effectiveness
    • CLA performed tests of internal controls governing claims processing, including evaluating:
            o The determination of claim eligibility in accordance with the Settlement Agreement
            o The calculation of claim payments in accordance with the Settlement Agreement
            o Whether the claimant provided the appropriate documentation to receive the
                 calculated payment, including a wet signature signed release
            o Whether the disbursed payment was prepared and approved by employees with
                 clearance to perform those responsibilities
            o Whether the disbursed payment was recorded on the bank statement and in the
                 general ledger
            o Whether the employees performing the initial review and quality assurance review of
                 claims paid had the appropriate training to perform those responsibilities
            o Whether the claim had been flagged for potential fraudulent activity
            o Whether the claim had been quality assurance reviewed by the CA QA/QC

   •   CLA performed controls testing on 10 of the 12 claims categories as 2 of the claims categories
       had not been put into production, as of December 31, 2012
            o CLA randomly tested 96 claims and performed procedures analyzing key controls
                governing claim preparation, determination of causation, payment calculation, quality
                assurance review, and payment disbursement
            o CLA obtained a listing of all claims appealed either by BP or a claimant as of March 25,
                2013 to analyze appealed claims trends by claim category
            o CLA obtained a listing of all notices issued, extracted the denial notices issued to
                analyze denied claims trends by claim category to determine which claim categories
                had the highest percentage of denied claims
            o CLA selected a random sample of claims that had been quality assurance reviewed by
                the CA QA/QC. We reviewed the workbooks and supporting documentation and
                reviewed any exceptions and gaps noted during IA’s review. Additionally, we verified
                that exceptions and gaps noted were reported to The CAO to ensure remediation
                occurred on a timely basis
            o CLA reviewed a random sample of documentation used to support disbursement
                amounts through approval of sign-off and date


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  •   CLA evaluated certain aspects of the IT control environment and interviewed four key IT
      management personnel from the CAO, BG, and GCG and evaluated the following:
          o CLA evaluated system access users with remote user access
          o CLA tested the number of users with multiple user accounts and how those accounts
              are monitored
          o CLA evaluated claims reporting and evaluated if the “all claims file” included all claims
              processed to a notice

  •   CLA conducted 8 onsite visits to :
         o DHECC Home Office, New Orleans, LA – Weeks of November 26, 2013 & February 4,
             2013
         o BG Claims Processing Office, New Orleans, LA – Weeks of November 26, 2013 &
             February 4, 2013
         o Mail Center, Hammond, LA – November 28, 2012
         o GCG Disbursement Center, New York City, NY – December 17, 2012
         o Claim Call Center, Sarasota Springs, FL – December 21, 2012
         o Claimant Assistant Center, Clearwater, FL – December 21, 2012
         o GCG Data Center, Dublin, OH – February 27, 2013


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6.0 Detailed Observations and Recommendations
CLA conducted interviews with the CAO and the DHECC vendors of the Settlement Agreement (BG, GCG,
P&N, and PwC), reviewed documents, tested claims processing, reviewed policies and procedures,
compliance with protocols and methodology to enable us to gain an understanding of the operations
and identified potential control weaknesses and opportunities for enhancement.

 6.1 Review of DHECC Policies and Procedures

Purpose:
The purpose of CLA’s review of DHECC’s policies and procedures was to evaluate them for sufficiency,
consistency, adherence to the Settlement Agreement, and comprehension to support the internal
controls that govern claims processing. We performed internal control evaluations to evaluate that the
policies and procedures were being implemented as intended.

Results:
We reviewed The CAO’s policies and procedures for adherence to the Settlement Agreement and
performed internal control evaluations to verify the policies and procedures were being followed.

We noted five of the seven policies and procedures have not been finalized and approved, as of March
31, 2013.

                      Policy and Procedure                                     Dated
                    Travel and Entertainment                           Approved July 17, 2012
                          Internal Audit                              Drafted October 17, 2012
                Internal Audit of Invoice Review                      Drafted October 17, 2012
               Internal Audit of Process Review                       Drafted October 25, 2012
                 Internal Audit of Claims Review                      Drafted October 25, 2012
                   Document Retention Policy                         Drafted September 12, 2012
        Disaster Recovery and Continuity of Operations               Approved October 10, 2012

Subsequent to the period of the fieldwork, the remaining policies and procedures were finalized and
approved by the CA, so no further action is required.



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 6.2 Claims Data Input

Purpose:
The purpose of CLA’s review of the input control environment was to perform controls testing to evaluate
if controls are in place and operating as intended for claim input. A claim can be filed in one of three
ways:
     • Visiting a CAC in person
     • Mailing in paper documents
     • Filing a claim electronically on-line

Results:
We reviewed data inputs into the accountant’s calculation spreadsheet and reviewed the accuracy of
claimant data received for each claim category. We noted four data input exceptions pertaining to the
accuracy of financial statement data input in the accountant’s calculation spreadsheet used to calculate
the claim payment see 6.9 Individual Claims Testing for a breakdown of variances and exceptions.
Errors in the data input process can result from individuals not receiving enough training and human
error in the quality assurance process. Incomplete or inaccurate data captured may lead to errors in
processing and calculating the claim in accordance with the Settlement Agreement.

Recommendations:
We recommend the CAO and BG refine its quality assurance review process over data input and data
capture and continue to provide training to increase the effectiveness of the quality assurance process.
This will assist individuals preparing and reviewing the claims data to meet the requirements of the
Settlement Agreement more effectively and efficiently by reducing the potential for data input and data
capture errors.

Management Response:
The vendors have discussed these findings with their staff. They will continue to take the appropriate
steps to reinforce the importance of accurate data input and quality assurance procedures.



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 6.3 User Access Rights

Purpose:
The purpose of CLA’s review of the user access rights control environment was to perform controls
testing to evaluate if controls are in place and operating as intended for user access right over claim
processing. BG is responsible for maintaining the claims processing portal and processing claims. All
claims documentation is maintained on the claims processing portal, and with the exception of business
economic loss (BEL) claims all claim categories are processed in the claims processing portal.

Results:
We noted that currently 829 out of the approximately 3,000 (28%) individuals that are part of the claims
process have remote access. Remote access grants those individual the ability to sign into the BG claims
processing portal from any location which presents them with the opportunity to misuse sensitive data.

In addition, 443 out of 2,439 (18%) individuals who have access to the BG claims processing portal have
more than one user account. Monitoring exists to ensure that users can not process and approve a single
claim all the way to payment; however, not monitoring the use of the user accounts on a periodic basis
may result in unintended segregation of duties issues, including the ability to process and approve a
single claim all the way to payment.

Though no instances of unauthorized access to the DHECC portal or instances of a user processing and
approving a claim all the way to payment was detected, user accounts within the DHECC portal are not
monitored to ensure only authorized individuals have access. Lack of monitoring user access accounts
increases the risk of unauthorized access to the portal.

Recommendations:
We recommend access to the DHECC portal be periodically reviewed and corrective action taken to
remove user access rights for personnel no longer employed and monitor users with multiple user
accounts to identify any instances where a user processes and approves a claim all the way to payment.

Management Response:
Restricted IP Addresses: BG and the CAO have diligently reduced the number of DHECC personnel who
can access the database by using an unrestricted IP address since February of 2013. Since the population
of 829 unrestricted IP address users was identified, we have reduced that volume to 96 users as of
4/24/13 as follows: (a) 25 BG remote reviewers; (b) 25 CAO personnel (includes 10 CLA users); (c) 23
GCG intake personnel; (d) 17 P&N Accountants; and (e) four Louisiana property/title attorneys retained
to assist on ownership issues for Wetlands claims. This reduced volume falls within the acceptable range
of 2-3% as specified in Section 1.2 of the Report. BG and the CAO will continue to analyze whether this
volume of users with access from an unrestricted IP address can be reduced further.

Monitoring of Roles and Access Rights for Claims Reviewers: The CAO will periodically test user access
roles every 30 days by selecting a random sample of reviewers and analyzing their database access rights
to the various review queues to ensure adherence to CAO policy and training certifications. The CAO will
also run periodic audits to ensure that any personnel that disassociates from the DHECC program will
have their login and passwords revoked.




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 6.4 Change Management Audit Trail

Purpose:
The purpose of CLA’s review of IT change management processes as part of the claims processing control
environment was to perform controls testing to evaluate if controls are in place and operating as
intended for changes made to the IT environment. BG is the vendor responsible for maintaining and
implementing changes to the claims processing portal.

Results:
BG performs 300 – 400 changes on average per day to either claims in process or the claims processing
portal. While documentation is maintained to support the changes, a daily log of the changes is not
maintained to give the CAO insight into the changes made each day. Maintaining a daily log would also
assist management in determining if changes made were properly authorized and vetted before
implementation.

Recommendation:
We recommend BG maintain a daily log of IT changes made to claims in process and the claims
processing portal to assist management in determining if changes made were properly authorized and
vetted before implementation.

Management Response:
Production Builds and System Enhancements: BG previously documented all new production builds for
the DHECC database by archiving the existing production build before implementing the new system
enhancements. To further document DHECC system enhancements, we created a Change Request Form
template for the programmers and DBA personnel to complete when implementing new code. The
Change Request Form indicates: (a) the date of the change, (b) a description of the change; (c) the
affected tables; (d) the affected stored procedures; (e) who approved the changes; and (f) who
implemented the changes to the DHECC system. BG has used the Change Request Form since 4/1/13.

Changes to Data Performed Outside of the Claims Review System: BG has recorded a daily log of data
change requests to the DHECC database since 4/29/13. We track these data updates or manual
movement of claims/claimants to various review queues when the database application cannot handle
the request without direct intervention by a programmer. This daily log identifies: (a) the source and
date of the request; (b) a description of the change or data updates; (c) the number of affected
claimants/claims; (d) the Directly Responsible Individual who requested and authorized the data change;
(e) the programmer who implemented the data change; and (f) the implementation date. We store this
daily log in Excel format that tracks the changes by date and specific requests and upload a copy of this
daily log to the CAO every week.



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 6.5 Claims Payment Disbursements

Purpose:
The purpose of CLA’s review of the payment disbursement control environment was to perform controls
testing to evaluate if controls are in place and operating as intended for disbursements of claim
payments. Disbursements are prepared at the GCG Disbursement Center located in New York City, NY by
GCG.

Results:
We noted payments disbursed to claimants were the same as the payments acknowledged as due to
them and that segregation of duties were appropriate between check and wire preparation, approval,
and disbursement. Additionally, we noted the individuals responsible for check and wire preparation,
approval, and disbursement was documented and maintained without exception in accordance with the
Standards.

Recommendations:
No exceptions were noted; therefore no management response is necessary.

Management Response:
No response necessary.

 6.6 Claims Data Retention

Purpose:
The purpose of CLA’s review of the retention control environment was to perform control testing to
evaluate if controls are in place and operating as intended according to DHECC’s policy for claim
documentation retention. The preservation policy applied by DHECC to all emails and other electronic
files or databases; paper documents; notes; calendars; logs; forms; drawing; diagrams; schedule;
photograph; video and other recordings; worksheets; computations; data storage media including hard
drive; external hard drive; CDs; USB Drives; and DVDs is to maintain all the previously listed electronic
and paper documentation for three years after the expiration of the lifetime of the final DHECC claim.

Results:
We noted that DHECC and GCG maintain paper documents in a secured storage area within the Mail
Center located in Hammond, LA. In addition, GCG has planned for the volume of documents based on
the size of the current storage area observed and the additional subcontract with a document storage
vendor in the circumstance that the current area will not store all paper files.

We noted that all electronic documentation is stored at the Data Center. All documentation is available
and can be recalled as necessary. We have performed a high level review to evaluate if environmental,
physical security, and data backup and storage controls are in place at the Data Center, see results at
section 6.8.

Recommendations:
We recommend that DHECC and GCG continue to monitor the capacity of the current paper document
storage areas and determine when and if an expansion of the storage space is appropriate.




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Management Response:
GCG will continue to monitor the capacity of the current paper document storage areas and recommend
expansion to the CAO when and if expansion is appropriate.

 6.7 Claims Audited by CAO’s Quality Control Department

Purpose:
The purpose of CLA’s review of the claims quality control reviewed by CA QA/QC was to evaluate if
controls are in place and operating as intended for CA QA/QC quality assurance controls. CA QA/QC is
responsible for quality control reviewing claims processed, paid, and appealed under DHECC. This
function is in addition to the quality control measures instituted by the DHECC vendors. This allows
DHECC to identify issues and exceptions real time and implement changes to positively impact future
claims. CA QA/QC uses workbooks to quality control review claims processed as well as to document
their quality control review. Each vendor identified in the Settlement Agreement is responsible for
performing quality control reviews on their own work and the CA QA/QC is back-up in addition to the
vendors’ quality control measures.

Results:
We noted that two instances out of our sample selection of 25 where CA QA/QC did not evidence their
review on all parts of the workbook through initials and date. Not fully documenting the CA QA/QC
review of the workbook may indicate only a partial or inadequate review of the workbook, even if a full
review was performed. In each instance we noted CA QA/QC had partially signed-off and dated the
workbook review, we noted that all steps of the workbook had been properly completed.

Additionally, we noted that during the Fourth Quarter of 2012, CA QA/QC completed workbooks for 206
claims processed across 10 claim categories. CA QA/QC’s sampling technique uses a 95% confidence
level and 10% margin of error to calculate the sample size for paid claims by claim category which is a
methodology that meets the Standards. All CA QA/QC quality control reviews and workbooks are
completed either after a claim has been processed and is waiting for notice of payment to be disbursed
or payments have been disbursed to claimants.

CA QA/QC communicates its quality control review results on a quarterly basis to the CAO and the DHECC
vendors and identifies the root cause for all exceptions noted. Exception trends are analyzed to evaluate
whether an exception’s root cause is a one-time event or an event that could affect the entire claims
population. In addition, once exception trends are evaluated, employees processing claims are educated
and trained on why the exception occurred and how to properly process a claim to avoid recurring
exceptions going forward. This allows CA QA/ QC to continuously monitor and implement improvements
to the claims processing environment as exception trends are identified.

It is a leading practice to have an in-house quality control function; however, currently CA QA/QC may
enhance its coverage of claims processing through data mining and trend analysis for DHECC’s
operations in addition to the quality control measures performed by the vendors.

Recommendations:
We recommend that CA QA/QC continue to perform quality control review of claims processed and
document its entire review of the workbook.




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We also recommend CA QA/QC consider enhancing the coverage of quality control reviews over DHECC’s
claims processing through the use of data mining methodologies and trend analysis.

Management Response:
To provide an independent assessment as to quality and consistency of claim reviews and payments, the
CAO Quality Control Team has continued to randomly sample claims across all claim types. The random
sample volume achieves a 95% confidence interval with a 10% margin of error. The scope of the Quality
Control Team’s reviews encompasses every aspect of a claim review from document categorization to
payment distribution. Prior to publication of this report, the CAO Quality Control Team has begun testing
live claims prior to distribution to notice, as well as performing data mining analysis on claim type
databases. The CAO will continue to identify and report material and non-material exceptions (material
exceptions affect causation or compensation) to the vendors on a weekly basis. The exceptions are
reviewed with the vendors to allow them the opportunity to remediate incomplete and/or inaccurate
claim determinations, identify processes that may benefit from additional training, identify opportunities
to strengthen quality controls, and to identify trends and Program wide errors in need of attention.

 6.8 Data Center

Purpose:
The purpose of CLA’s review of the Data Center was to perform a high level review to evaluate if
environmental, physical security, and data backup and storage controls are in place at the Data Center.

Results:
We noted that environmental, physical security, and data backup and storage controls were in place.
Such controls included fire detection and suppression systems, temperature monitoring, uninterruptible
power supply, backup power source, key card access system, security cameras, security personnel, and
tape backup system.

We noted one opportunity for improvement in the replacement of the dry pipe sprinkler system inside
the computer room of the Data Center with a chemical-based fire suppression system. In the event of a
data center fire, use of the dry pipe system could result in a significant amount of hardware loss due to
water damage. Additionally in the event of significant hardware loss, the Data Center does have a
redundant offsite facility to ensure that operations stay up and running during such an event.

Recommendations:
CLA recommends the CAO evaluate the existing functionality and off-site back-up data center and
consider the potential benefits of a chemical-based fire suppression system to assist in the mitigation of
risk of hardware loss in the event of a data center fire.

Management Response:
Prior to receiving the draft audit report, GCG’s head of systems had been investigating whether a
chemical-based fire suppression system was necessary for GCG as a whole. We determined that the cost,
approximately $75,000 - $100,000, wasn’t necessary since GCG carries insurance on all of our equipment
and because, as mentioned in the Process Audit Report, GCG maintains a redundant offsite facility to
ensure operations stay up and running in the event of a data center fire. However, if the CAO wants to
authorize that expense, GCG will proceed to have the system installed.




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 6.9 Individual Claims Testing

Through December 31, 2012, DHECC had processed and issued 68,954 claim notices. A notice is the
outcome of a particular claim being processed and each notice has one of four outcomes:
    • Eligible – payment due
    • Eligible – no payment due
    • Incomplete
    • Denial

As of December 31, 2012, 98,120 claims had been submitted and captured through the claims
processing portal. Of those claims submitted, 68,954 (70%) had been processed and a notice issued.
Additionally, as of December 31, 2012, notices of eligibility and payment had been processed for 15,894
claims, totalling $1,063,262,525. The table illustrates how DHECC has increased operations and the
activity levels of the first full month of operations, the first six months of operations, and the first
quarter of 2013.

                                                                   June 2012 –        January 2013 –
                  Metric                     As of July 2012
                                                                  December 2012         March 2013
 Total Number of Claims Processed*            1,800                   68,945              64,971
 Total Award Amounts Processed             $65,672,562            $1,634,102,344      $1,144,341,198
 Percentage of Total Awards Processed
                                             43.42%               32.61%                  25.58%
 for Individuals
 Percentage of Total Awards Processed
                                              0.00%                9.91%                  13.91%
 for Individuals with Business
 Percentage of Total Awards Process for
                                             56.58%               57.48%                  60.52%
 Business
 Average Number of Claims Processed
                                              1,800               11,492                  21,657
 Monthly
*Each claim may have more than one notice generated for it throughout the process.


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The graph immediately below depicts the length of time (in days) on average to process the number of
claims that had notices issued in a particular month. The points on the graph are based on issuance of
the first notice that is generated for a claim. Claims may have additional notices or revised award
amounts generated in a subsequent month based on the outcome of the first notice. The increase in
average number of days to process a claim to first notice is due the increase in volume of claims
received by DHECC. The second graph depicts the number of claims received on a monthly basis.


                  Average Number of Days to Process Claims to First Notice
              120.0                                                                       102.3
              100.0                                                       90.1     87.1
                                                                 80.6
               80.0                      65.6   68.0     70.1
                                                                                                  70.9 days on averatge July 2012 - March 2013
   Avg         60.0             45.8
   Time To
   Process     40.0    28.8
   Claim
   (Days)      20.0

                0.0                                                                                            Avg # of Days Process Claim




Source: DHECC Notices File



                                   Number of Claims Received By Month
             30,000
                                                                         24,620
             25,000
  Claims                       17,641
  Received   20,000
  By                  14,377            14,297 13,362
             15,000                                     11,833                    12,513 12,471
  Month
                                                                 9,146
             10,000

              5,000

                 0                                                                                                   Claim Forms Received




Source: DHECC All Claims File




                                                                                                                                                 28
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 10 claim categories were included in the population of our testing during Project I, but not all 10 claim
 categories were selected. We used our sampling methodology of a confidence level of 95% with a 10%
 margin of error to identify our sample size of 96 claims. We tested 96 paid claims across the claim
 categories. We did not test claims that had a status of “in-process” as of December 31, 2012. The
 results of Project I are exhibited below.

                                                # of                     % of                       % of
                    # of                                  Total $ Of                 Total $ Of
   Program                      Total $ of     Claims                    Over-                     Under-
                   Claims                                   Over-                     Under-
    Review                       Sample         with                   payments                   payments
                  Sampled                                 payments                   payments
                                              Variance
Seafood
                    33        $66,909,281         2          $418        0.000%          $0        0.000%
Compensation
Individual
Economic             2           $13,364          0           $0         0.000%          $0        0.000%
Damage
Business
                    15        $26,737,487         2         $2,494       0.008%          $0        0.000%
Economic Loss
Vessel of
Opportunity
                    20          $868,000          0           $0         0.000%          $0        0.000%
Charter
Payment
Vessel Physical
                     1           $12,778          0           $0         0.000%          $0        0.000%
Damage
Coastal Real
Property            24          $141,352          0           $0         0.000%          $0        0.000%
Damage
Wetlands Real
                     1           $15,750          0           $0         0.000%          $0        0.000%
Property

 See Appendix B for breakdown and explanation of claim categories not tested during Project I.

 Instances were identified above where claimants were paid in excess of what they should have received
 as outlined in the Settlement Agreement. We were informed by the CAO throughout the course of our
 work, that any error identified resulting in a claimant being underpaid, would be corrected. Any
 instance identified resulting in a claimant being overpaid; DHECC would not request the claimant return
 the excess payment received. However, if a claimant received an overpayment for one claim category
 and was awarded an additional payment for another claim, the identified overpayment will be offset
 against any additional payments to that claimant.

 In addition to our paid claims testing, we also performed trending on denied claims and appealed
 claims. A breakdown of the results by claim category is as follows:


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 6.9.1 Seafood Compensation

Purpose:
The Seafood Compensation Program covers damages suffered by Commercial Fishermen, Seafood Crew,
or Seafood Vessel Owners that owned, operated, leased, or worked on a vessel that was Home Ported in
the Gulf Coast Areas at any time from April 20, 2010 to April 16, 2012, or Landed Seafood in the Gulf
Coast Areas at any time from April 20, 2009 to April 16, 2012. In addition, it covers damages suffered by
Oyster Leaseholders and Individual Fishing Quota (IFQ) Owners. The Seafood Compensation Program
does not apply to claims relating to fishing, processing, selling, catching, or harvesting of menhaden (or
pogy) fish. The Seafood Compensation Program is capped at $2.3 billion.

Results:
CLA identified two calculated claim payment variances totaling $418 out of the 33 Seafood
Compensation Program claims for which we performed procedures, and the exceptions are broken down
as follows:
    • The two claims with a variance in payment calculated between DHECC and CLA, totaling $418 in
        overpayments was due to an incorrect calculation of the amount of allowable accountant
        reimbursement in accordance with the Settlement Agreement

While CLA did identify exceptions during our Seafood Compensation Program claim analysis, the
exceptions did not result in a change to eligibility determined by DHECC, meaning that all paid claims
tested for this claim category were eligible to receive a payment.

Recommendations:
CLA recommends that DHECC strengthens its quality control reviews of claims processed including
allowable accountant reimbursement calculations and educate those employees performing claims
processing job responsibilities of the overpayments identified to assist in ensuring claims are processed
and payments are calculated in accordance with the Settlement Agreement.

Management Response:
BG agrees there is a discrepancy in the Claimant Accounting Support calculation for the claims noted by
the auditors. Apart and independent of the external auditor findings, BG found and corrected the Notice
mapping that caused the overpayments prior to receiving the audit report. BG recorded the overpaid
amounts and will offset the overpaid amounts from payments to any future claims (Claim ID 37202:
$1,123,35; Claim ID 4379: $361.25).


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 6.9.2 Individual Economic Damage

Purpose:
Individual Economic Damage claims are claims submitted by Individuals, who shall be defined as (i)
Natural Persons who (a) satisfy (or whose employers satisfy) the Class Definition and (b) whose losses are
not excluded from the Class and (ii) who seek compensation for lost earnings from employment due to or
resulting from the DWH Spill for claims that are not excluded from the Class.

Results:
We identified no exceptions for the two Individual Economic Damage claims for which we performed
procedures. The claims’ eligibility and valuation were in accordance with the Settlement Agreement.

Recommendations:
No exceptions were noted; therefore no management response is necessary.

Management Response:
No response necessary.


 6.9.3 Business Economic Loss

Purpose:
The Business Economic Loss framework sets forth the standards for evaluating claims and determining
compensation for Businesses that suffered an Economic Loss as a result of the spill.

Results:
We identified two calculated claim payment variances totaling $2,494 in overpayments out of the 15
Business Economic Loss claims for which we performed procedures and the exceptions are broken down
as follows:
    • The two claims for which CLA noted an exception in that the calculated claim payment had input
        errors and/or expenses were not categorized as fixed or variable expenses in accordance with
        the Settlement Agreement resulting in $2,494 in overpayments

While CLA did identify exceptions during our Business Economic Loss claim analysis, the exceptions did
not result in a change to eligibility determined by DHECC, meaning that all paid claims tested for this
claim category were eligible to receive a payment.

Recommendations:
CLA recommends that DHECC strengthens its quality control reviews of claims processed and educate
those employees performing claims processing job responsibilities of the overpayments identified to
assist in ensuring claims are processed and payments are calculated in accordance with the Settlement
Agreement.

Management Response:
It appears that the overpayment of $2,494 resulted from data input errors and expense
misclassifications. The vendors have discussed these findings with their staff. They will continue to take
the appropriate steps to reinforce the importance of accurate data input and quality assurance
procedures.


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 6.9.4 Vessel of Opportunity Charter Payment

Purpose:
Vessel of Opportunity (VoO) damage claim category addresses damages suffered by Natural Persons or
Entities who registered their vessels to participate in BP's Vessels of Opportunity program, executed a
VoO Master Vessel Charter Agreement with BP, Lawson, USMS, USES, DRC, or any other BP
subcontractor as Charterer, and completed the initial VoO training program. VoO participants can make
VoO Charter Payment Claims regardless of whether they were dispatched or otherwise asked to perform
work under the program.

Results:
We identified no exceptions for the 20 VoO claims for which we performed procedures. The claims’
eligibility and valuation were in accordance with the Settlement Agreement.

Recommendations:
No exceptions were noted; therefore no management response is necessary.

Management Response:
No response necessary.

 6.9.5 Vessel Physical Damage

Purpose:
A Vessel Physical Damage Claim is a claim for physical damage to a vessel resulting from the Deepwater
Horizon Incident or certain response clean-up operations, including the cost of removal of equipment or
rigging added to the vessel as part of the response activities.

Results:
We identified no exceptions for the Vessel Physical Damage claim for which we performed procedures.
The claim’s eligibility and valuation were in accordance with the Settlement Agreement.

Recommendations:
No exceptions were noted; therefore no management response is necessary.

Management Response:
No response necessary.

 6.9.6 Coastal Real Property Damage

Purpose:
Individuals and Entities who owned or leased coastal real property or boat slips located in the Coastal
Real Property Claim Zone at any time from April 20, 2010 to December 31, 2010 can make Coastal Real
Property Damage Claims for damage to that property.

In addition, owners of real or personal property located in the Coastal Real Property Claim Zone that was
physically damaged in connection with the Deepwater Horizon Incident response cleanup operations can
make claims for that physical damage to real or personal property.



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Results:
We identified no exceptions for the 24 Coastal Real Property damage claims for which we performed
procedures. The claims’ eligibility and valuation were in accordance with the Settlement Agreement.

Recommendations:
No exceptions were noted; therefore no management response is necessary.

Management Response:
No response necessary.

 6.9.7 Wetlands Real Property Damage

Purpose:
Individuals and Entities who owned wetlands real property located in certain geographic areas at any
time between April 20, 2010 and April 16, 2012, can make claims for Wetlands Real Property Damage. If
an individual or entity has property located in the Wetlands Real Property Compensation Zone, person or
entity could receive a Settlement Payment depending on whether the property is considered oiled or non-
oiled and what the acreage is.

In addition, owners of real or personal property located in the Wetlands Real Property Compensation
Zone that was physically damaged in connection with the Deepwater Horizon Incident response clean-up
operations can make claims for that physical damage to real or personal property.

Results:
We identified no exceptions for the Wetlands Real Property Damage claim for which we performed
procedures. The claim’s eligibility and valuation were in accordance with the Settlement Agreement.

Recommendations:
No exceptions were noted; therefore no management response is necessary.

Management Response:
No response necessary.


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 6.9.8 Denied Claims Statistics

Purpose:
Denied claims are claims submitted to DHECC for processing under the Settlement Agreement by a
claimant that are determined to not meet causation as defined in the Settlement Agreement. Causation
dictates a claim’s eligibility and if the claim can be processed for potential payment.

Results:
As of December 31, 2012 DHECC had processed and issued a notice of denial for 6,245 claims (9% of all
notices issued).
    • 2,141 (34%) of the denial notices relate to the individual economic loss claim category.

Recommendations:
Denied claims were trended with statistics noted above; therefore no management response is
necessary.

Management Response:
No response necessary.


 6.9.9 Appealed Claims Statistics

Purpose:
Appealed claims are claims that are determined to be eligible for payment as processed by DHECC in
accordance with the Settlement Agreement that are appealed by BP or the claimant. BP can appeal any
claim with a calculated payment of $25,000 or more. The claimant can appeal the calculated award
amount they receive and request that their claim be submitted for reconsideration.

Results:
As of March 25, 2013 DHECC had processed and issued a notice for 68,954 claims, totaling
$1,063,262,525. Of those claims processed, 1,260 had been appealed (1.83% of total notices issue), the
breakdown between BP and Claimant appeals is as follows:
    • BP appealed 897 (71%) claims, totaling $629,296,298
    • Claimants appealed 363 (29%), totaling $3,699,307

As of our fieldwork date, March 31, 2013, there are currently 849 appealed claims with a status of
pending with original calculated compensation amounts totaling $437,207,591.

Recommendations:
Appealed claims were trended with statistics noted above; therefore no management response is
necessary.

Management Response:
No response necessary.


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InAppendix A




                               Appendix A

                          Individuals Interviewed




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InAppendix A


Individuals Interviewed During Project I Of The Process Audit

The Claims Administrator’s Office

Patrick Juneau                                          Claims Administrator
Michael Juneau                                          Special Counsel
David Odom                                              Chief Executive Officer
Bob Levine                                              Chief Financial Officer
Kirk Fisher                                             Director of Business Processes & Reporting
Chris Reade                                             Chief Information Officer
David Welker                                            Director of Fraud, Waste, & Abuse
Philip Ollendike                                        Reporting & Audit
Henry Mitchell                                          Reporting & Audit
BrownGreer

Orran Brown                                             Partner
Lynn Greer                                              Partner
Roma Petkauskas                                         Partner, New Orleans Claims Processing Center
Bob Staneart                                            Information Systems
Garden City Group

Stephen Cirami                                          Project Manager
Jennifer Keough                                         Call Center Lead
Shandarese Garr                                         Mail Center Lead
Drew Sommer                                             Senior Vice President, Systems & Technology
HUB enterprises

Chip Romero                                             President
Dwayne Regan                                            Vice President, Security
David Buchanan                                          Vice President, Fraud, Waste, & Abuse
Postlethwaite & Netterville

Mark Staley                                             Director
Robin Pilcher                                           Director
Corey Jambon                                            Consulting Manager
PricewaterhouseCoopers LLP

Charles Hacker Jr.                                      Partner
Theodore Martens                                        Partner


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InAppendix B




                                  Appendix B

               Claim Categories Not Included In Project I Testing




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The Following claims categories were not selected for Project I testing based on low dollar and number
of claims volume.

                                        # of Claims Paid       $ Paid as of        % of Total Paid Claims
          Claims Category               as of December        December 31,          as of December 31,
                                            31, 2012              2012                     2012
 Subsistence Damage                             0                  $0                     0.000%
 Individual Periodic Vendor or
                                                0                   $0                    0.000%
 Festival Vendor Economic Loss
 Real Property Sales Damage                   206              $11,075,437                1.042%
 Failed Business Economic Loss                 0                   $0                     0.000%
 Start-Up Business Economic Loss              40               $7,811,120                 0.735%

The purpose of each claim category not selected for Project I testing is listed below:

 Subsistence Damage

Purpose:
Subsistence Damage is a loss of Subsistence use of natural resources arising from the Deepwater Horizon
Incident. This includes damages suffered by Natural Persons who fish or hunt to harvest, catch, barter,
consume, or trade Gulf of Mexico natural resources (including Seafood and Game) in a traditional or
customary manner, to sustain their basic personal or family dietary, economic security, shelter, tool, or
clothing needs and who relied on Subsistence resources that were diminished or restricted due to the
Deepwater Horizon Incident.


 Individual Periodic Vendor or Festival Vendor Economic Loss

Purpose:
Individual Periodic Vendor or Festival Vendor loss is for individuals who regularly provide the specific
goods or services who meet the following criteria:
  1. Regularly sold at retail during 2009 and 2010 any of the legal food, souvenir, art, tourist-related or
     water-related goods or services or substantially equivalent items ("Covered Sales") to CONSUMERS
     in Zones A,B or C during May through December 2009 and / or May through December 2010.
  2. Made such Covered Sales, primarily to non-local CONSUMERS, except that water related Covered
     Sales, need not be primarily made to non-local CONSUMERS.
  3. Did not maintain a permanent business location in a building at which the claimant made Covered
     Sales.
  4. Held any licenses as required by law.
  5. Was not employed by an employer in connection with such Covered Sales.
  6. Does not have Tax Information Documents sufficient to support a claim under the Business
     Compensation Framework for this claimed loss.


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 Real Property Sales Damage

Purpose:
Real Property Sales Damage is economic loss suffered by sellers of residential property located in a
specific geographic area, who sold their properties at a lower price because of the Deepwater Horizon
Incident. In order to be eligible to file a Real Property Sales Damage claim, the claimant must have
owned the property on April 20, 2010, and the sale of the property must have closed between April 21,
2010 and December 31, 2010. If the sales contract was executed prior to April 21, 2010, the property
sales price must have been reduced because of the Deepwater Horizon Incident. Real Property Sales do
not include transfers from borrowers to lenders as part of a foreclosure or a similar process.

 Failed Business Economic Loss

Purpose:
A Failed Business commenced operations prior to Nov. 1, 2008 and that on or after May 1, 2010 and
prior to December 31, 2010 either, (i) Ceased operations and wound down, or (ii) Entered bankruptcy
(through filing a petition for bankruptcy protection in a court of competent jurisdiction), or (iii) Initiated
or completed a liquidation of substantially all its assets. There are also guidelines for Failed Start-Up
Businesses those commenced operations after Nov. 1, 2008. These claims have similar causation
requirements as standard Failed Business Economic Loss Claims.

 Start-Up Business Economic Loss

Purpose:
A Business is considered a Start-Up Business if it began operations between November I, 2008 and April
20, 2010. The framework for Start-Up Businesses does not apply to (i) Failed Businesses, or (ii) claims
covered under the Seafood Program.


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